









Dismissed and Memorandum Opinion filed November 24, 2004









Dismissed and Memorandum Opinion filed November 24,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00997-CR

____________

&nbsp;

ANTHONY J.
HOLLIS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
230th District Court

Harris County,
Texas

Trial Court Cause No. 999,301

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to robbery.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, the trial court sentenced appellant on
September 24, 2004, to confinement for eight years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed November 24, 2004.

Panel consists of Chief Justice
Hedges and Justices Fowler and Seymore.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





